United States District Court
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Eastern District of California 4 2029

by

California Natural Resources Agency, et al.

Plaintiff(s)

Case Number: | 1:20-cv-00426-JLT-EPG

V.
APPLICATION FOR PRO HAC VICE

AND PROPOSED ORDER

Raimondo, et al.

Defendant(s)

Pursuant to Local Rule 180(b)(2) of the United States District Court for the Eastern District of California,

Kelly Dunbar hereby applies for permission to appear and participate as

counsel in the above entitled action on behalf of the following party or parties:
Westlands Water District

On 09/15/2006 (date), | was admitted to practice and presently in good standing in the

District of Columbia Court of Appeals (court). A certificate of good standing from that court is

submitted in conjunction with this application. | have not been disbarred or formally censured by a court of

record or by a state bar association; and there are not disciplinary proceedings against me.

lv} have | | have not concurrently or within the year preceding this application made a pro hac vice

application to this court. (If you have made a pro hac vice application to this court within the last year, list
the name and case number of each matter in which an application was made, the date of application and

whether granted or denied.)
PCFFA v. Ross, No. 1:20-cv-00431-JLT-EPG, submitted 40/21/2022, no ruling

Kelly Dunbar

Date: 10/21/2022 Signature of Applicant: /s/

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“Phone Number w/Area Code:

Pro Hac Vice Attorney

Applicant's Name: Kelly Dunbar

Law Firm Name: Wilmer Cutler Pickering Hale and Dorr LLP

Address: 1875 Pennsylvania Ave NW

Washington DC 20006

(202) 663-6262
Bethesda, MD

Kelly.Dunbar@wilmerhale.com

City: State: Zip:

City and State of Residence:

Primary E-mail Address:

Secondary E-mail Address:

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| hereby designate the following member of the Bar of this Court who is registered for ECF with whom the
Court and opposing counsel may readily communicate regarding the conduct of the case and upon whom
electronic notice shall also be served via the Court’s ECF system:

Local Counsel's Name: Daniel J. O'Hanlon

Kronick, Moskovitz, Tiedemann & Girard

1331 Garden Highway

Law Firm Name:

Address:
2nd Floor
City: Sacramento State: CA Zip: 95833
Phone Number w/Area Code: (916) 321-4500 Bar # 122380
-ORDER

The Pro Hac Vice Application is APPROVED. The Pro Hac Vice Attorney is DIRECTED to request
filing access through PACER.

oatea: 16/24 [22 Soe. LV

JUDGE, U.S. DISTRICT COURT

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